Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 1of8

Exhibit 1
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 2 of 8

EXHIBIT 1

UNITED STATES DISTRICT COURT

FOR THE

DISTRICT OF MASSACHUSETTS

SONYA LARSON

Plaintiff, Civil Action
Vv.
No. 1:19-cv-10203-IT
DAWN DORLAND PERRY, et al.

Defendants.

AFFIDAVIT OF PLAINTIFF-THIRD PARTY DEFENDANT, SONYA LARSON IN
SUPPORT OF HER MOTION FOR PARTIAL SUMMARY

I, Sonya Larson, Plaintiff, Third-Party Defendant in the above action, on oath depose and
state as follows:

I have carefully reviewed all of the exhibits that are being submitted by my attorney
with my Motion for Summary Judgment and I believe them all to be complete and accurate
copies of documents produced during discovery, or documents that were found online.

1. I consider myself to be a fiction writer. I have written and had published 23 short
stories and essays, including The Kindest, which is the subject of this action, as well as Gabe
Dove, which was published in 2007 by Best American Short Stories. In addition, ] have written

and had published the following:
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 3 of 8

“Learning to Be a Panda,” The Kenyon Review, January 2021

“Code W,” novel excerpt, Ploughshares, July 2020

“The Empty Hour,” The Harvard Advocate, Spring 2019

“Q County Colored Penitentiary,” anthologized in Pangyrus: The Resistance

Issue, November 2018

e “At the Bottom of New Lake,” Warmer, Climate Fiction Amazon Original
Stories Collection, with Jane Smiley, Lauren Groff, Jess Walter, Edan Lepucki, Skip
Horack, October 2018

e “The Horror and Joy of No One to Blame,” Literary Matters, July 2018

« “The Request,” Solstice: A Magazine of Diverse Voices, July 2018

e “The Peak,” Solstice: A Magazine of Diverse Voices, July 2018

e “AA,” Solstice: A Magazine of Diverse Voices, July 2018

e “Catch and Release: Strategies of Overt and Covert Narratorial Control,”

The Writer’s Chronicle, March/April 2018

“Q County Colored Penitentiary,” Memorious, Fall 2017

“Gabe Dove,” Salamander, Winter 2017

“God is Love is Love is Love,” American Literary Review, Spring 2016

e “What I Know About Parenting I Learned from Anne Carson,” for Bourbon
and Milk, American Short Fiction, December 2015

e “Mixed Race Experience in Celeste Ng’s Everything I Never Told You,” GrubDaily,
December 2015

e “Talking Race and the MFA,” Poets & Writers, August 2015

“Scoots,” West Branch, Spring/Summer 2014

e “Honeymoon,” Zhe Del Sol Review, Spring 2013

“Peas All Over the World,” The Red Mountain Review, Fall 2009

“Campaigning,” The Hub: A Boston Literary Occasional, Winter 2008 [FY], the font size
of all these publications was uneven; I changed it all to Times New Roman, pt. 12]

Like many writers early in their careers, | am working on my first novel.

2. The Kindest is a fictional short story about a poor alcoholic Chinese-American
woman who receives a kidney anonymously from an affluent white kidney donor. I wrote this
story in five different variations, each of which contains a brief letter about one-third of the way
into the tale, through which I introduce my kidney donor character, Rose, to the recipient

character, Chuntao.
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 4of 8

3. I was involuntarily added to Ms. Dorland’s Facebook group. I did not have to
“accept” entry into the group or pledge confidentiality at any time.

4. Dorland claims that she and I were good friends. We were acquaintances through
GrubStreet, a Boston-based writing center, where I worked for 16 years. We were never good
friends. Ms. Dorland and I never met one-on-one outside of my job, never spoke on the
telephone, never texted each other, never met for any meal or for coffee or drinks, and never did
any other things that I typically do with my friends.

5. I did a word count on my computer of the Dorland Letter and each of the
variations I wrote of The Kindest. The Dorland Letter contains approximately 381 words, and
the letter section in each of the five variations of The Kindest contains approximately 250 words.
The total word count for The Kindest is approximately 5,500 words.

6. I have consistently admitted that I saw the Dorland Letter, and that it and
Dorland’s kidney donation were part of my inspiration for The Kindest. The other part of the
inspiration for my story was the discussion that was circulating in the press and on social media

in 2015, about whether the photograph of a particular dress was white and gold or blue and

black. [See, https://nyti.ms/1C4dsYX] The discussion was about how two people can quite
literally see different things within the same photograph. What was one color to one person, was
another color to someone else. J was interested—and remain interested—in how a person’s
racial experience can inform how they read a story. As a Chinese-American woman, racial
dynamics are a recurring theme in my writing.

7. When I was first writing The Kindest, I did some online research and I found
numerous sample letters to organ recipients that contained information similar to that used by

Dorland in the Dorland Letter. Although I did not save copies of the sample letters that I found
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 5of8

online in 2015, I did another more recent online search for letters written by organ donors to
organ recipients, and the letters I found were virtually the same as the ones I found in 2015.
Copies of the suggested letters are attached to my Memorandum as Exhibit 8. I believe that
much of what I included in the letter portion of my story follows a pattern that is similar to what
Dorland included in her letter. For example, we both start our letters by introducing ourselves.
How else would an anonymous organ donor write to an organ recipient she had never met
without an introduction? Total strangers introduce themselves. This is just what Dorland did in
her letter and what I did in the letter in my story. These are basic facts.

8. I wrote five slightly different variations of The Kindest. Each variation reflects
my writing process in which I regularly edit my stories to improve the language, tone, flow of
the prose, and more. Each variation of The Kindest includes a short letter about one-third of the
way into the story in which I introduce the wealthy white kidney donor character, Rose, to the
poor, alcoholic Chinese-American kidney recipient and protagonist, Chuntao.

9. The different variations of The Kindest are accurately summarized in my
Memorandum and include the following published variations:

(1) Brilliance Audio

(2). Audible.com

(3). American Short Fiction, Inc. (“ASF”)

(4). Boston Book Festival (“BBF”) —

Version submitted to the 1 City/1 Story competition.
(5). Final Version.

10. The Boston Book Festival first told me about Dorland’s plagiarism allegations,
followed by Ms. Markovits. I was forced to hire Atty. James Gregorio to represent me. Atty.
Gregorio called Ms. Markovits to convey to Ms. Dorland that he was “happy” to talk with
Dorland or her attorney. Dorland pointedly refused to give Ms. Markovits permission to share

with me or my attorney any of the emails Dorland sent to ASF. [Exhibit 12: specifically
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 6 of 8

BATES: Dorland00120-21.] Dorland never reached out to me at any time or to my attorney
about her plagiarism claims made to ASF.

li. Ms. Markovits called me when it was clear that Ms. Dorland was threatening to
pursue her legal remedies. I did not want to subject ASF to unnecessary legal expenses. Ms.
Markovits and I discussed the options we had, and we decided that since Ms. Dorland’s was
going to pursue her legal remedies, and The Kindest had been in print at ASF for some time, it
was time for ASF to remove my story from online publication.

12. I was very proud to have my short story published by ASF. As a writer, I lost a
valuable benefit when The Kindest was pulled from online distribution by ASF. The benefits
were both intangible and tangible in loss of future readership.

13. As the 1C/1S winner, 1 would have received widespread attention for my story
throughout Eastern Massachusetts, and I would likely have had numerous press interviews, and
would have garnered immeasurable goodwill, just as prior winners I know personally had
received. At the time, having the BBF rescind publication of The Kindest was a terrible blow to
my writing career.

14. On June 7, 2018, Dorland launched yet another campaign against me, this time
accusing me of using plagiarized material as the basis for a fellowship application I submitted to
the prestigious Bread Loaf Writers’ Conference at Middlebury College.

15. At first, Dorland’s campaign against me started with an email entitled, “Possible
Plagiarism in Tuition Fellow’s 2017 Application.” The email was sent to Bread Loaf. Even

though Dorland did not explicitly name me in this email, The Kindest was specifically

mentioned.
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 7 of 8

16. Dorland’s claim against Bread Loaf was baseless since I did not even include The
Kindest in my application for a fellowship. I applied for and won the fellowship using other
short stories that I had written.

17. Of course, I was identified as the would-be “plagiarist” in subsequent emails that
Dorland sent. Additionally, Dorland contacted over 30 writing programs, individuals in the
writing community, and media contacts both by telephone and by email to accuse me of
plagiarism. These contacts include the following:

(a) PEN America;

(b) The Authors Guild;

(c) Association of Literary Scholars, Critics and Writers, where I received a fellowship;
(d) Tin House Workshop;

(e) Gary Clark, Executive Director of the Vermont Studio Center;

(f) Jody Gladding, Writing Director of the Vermont Studio Center;

(g) Rebecca Markovits, editor at ASF;

(h) Bret Anthony Johnston, board member of ASF;

(i) Norah Pichl, Deputy Director of BBF;

Q) Eve Bridburg, Founder and Executive Director of GrubStreet, my employer;
(k) Ian Jude Chio, Chief Financial Officer of GrubStreet;

(1) Christopher Castellani, Artistic Director of GrubStreet;

(m) Kathy Sherbrooke, Chair of the Board of Directors of GrubStreet;

(n) Jennifer Grotz, Director of the Bread Loaf Writers' Conference;

(o} Lauren Francis-Sharma, Assistant Director of the Bread Loaf Writers’ Conference;
(p) Noreen Cargill, Administrative Director of the Bread Loaf Writers’ Conference;
(q) Jason Lamb, Coordinator of the Bread Loaf Writers' Conference;

(r) Michael Collier, Former Director of the Bread Loaf Writers' Conference;
(s) Adam Stumacher, writer;

(t) Jennifer De Leon, writer;

(u) Chip Cheek, writer;

(v) Graham Ambrose, reporter at the Boston Globe;

(w) Paul Makishima, Editor at the Boston Globe;

(x Samantha Shea, literary agent;

(y) The Dear Sugars Podcast;

(z) Kat Rosenfield, journalist;

(aa) Robert Kolker, journalist and writer;

(bb) Jennifer Haigh, writer;

(cc) Steve Almond, writer;

(dd) Deborah Plummer, writer;

(ee) Ethan Gilsdorf, writer:

(ff) Sondra Levenson, writer;
Case 1:19-cv-10203-IT Document 189-1 Filed 12/09/22 Page 8 of 8

(gg) Maud Casey, writer; and
(hh) Andrew Goldstein, writer.

18.  Asaresult of Dorland’s pressure against the BBF, the BBF asked me to modify
the letter portion of my story so that it would no longer resemble the Dorland Letter in any way.
I complied within days of the request. On June 13, 2018, I sent a revision of the letter portion of
The Kindest to the BBF. This revised story became the final version of The Kindest which will
be included with my Memorandum as Appendix V. The BBF was satisfied that the revisions I
made to the letter were no longer similar in any respect to the Dorland Letter.

19. As aresult of the pressure that the media attention inflicted on GrubStreet after
the publication of the NY Times article, “WHO IS THE BAD ART FRIEND?,” I was fired from

my job, a job I loved very much.

I certify that my Affidavit is true to the best of my knowledge and belief, and as to
those allegations based on what I was told by others, I believe them to be true.

Signed under the pains and penalties of perjury this today of December 2622.

—

Sonyébersor——

